Case: 1:20-cv-00587 Document #: 7 Filed: 02/07/20 Page 1 of 2 PagelD #:20

AO 440 (Rev. 05/00) Summons in a Civil Action

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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No N DASTRICT\OF ILLINOIS

SUMMONS IN ASE

JESSICA MADRID, individually, and on behalf

of all others similarly situated
* CASE NUMBER: 1:20-cv-00587

v. ASSIGNED JUDGE:
SSIGNED JUDG Hon. Edmond E. Chang

DESIGNATED

US ENERGY SOLUTIONS, INC. NAGISTRATETUDGE: Hon. Susan B. Cox

TO: (Name and address of Defendant)

US ENERGY SOLUTIONS, INC.,
C/O REGISTERED AGENT
PARACORP INCORPORATED
901 S 2ND STREET STE 201
SPRINGFIELD , IL 62704

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

Mohammed O. Badwan

Sulaiman Law Group, Ltd.

2500 South Highland Avenue, Suite 200
Lombard, IL 60148

. oa s 2) . .
an answer to the complaint which is herewith served upon you, days after service of this

summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.

THOMAS G. BRUTON, CLERK
February 3, 2020

 

Cb Youxo

(By) DEPUTY CLERK

 

DATE

 

 
Case: 1:20-cv-00587 Document #: 7 Filed: 02/07/20 Page 2 of 2 PageID #:21

ClientCaselD: 58800 CaseReturnDate: 2/4/20

Affidavit of A PRIVATE INVESTIGATOR

 

 

UNITED STATES DISTRICT COURT, NORTHERN DISTRICT OF ILLINOIS

Case Number 4 :20-CV-00587
, JOHN PENNELL

FIRST DULY SWORN ON OATH STATES THAT I AM OVER 18 YEARS OF AGE AND NOT A PARTY TO THIS SUIT AND
LICENSED AS A PRIVATE DETECTIVE (LICENSE # 115.002074) UNDER THE PRIVATE DETECTIVE ACT OF 2004.

CORPORATE SERVICE

 

THAT 1 SERVED THE WITHIN SUMMONS & COMPLAINT

ON THE WITHIN NAMED DEFENDANT US ENERGY SOLUTIONS, ING.
PERSON SERVED STACY LAATSCH, AUTHORIZED AGENT

BY LEAVING A COPY OF EACH WITH THE SAID DEFENDANT ON 2/4/20

That the sex, race and approximate age of the whom lleftthe SUMMONS & COMPLAINT
are as follow:

Sex FEMALE Race WHITE Age 51 Height 5'5" Build MEDIUM Hair BLN

LOCATION OF SERVICE 9015S 2ND ST #201
SPRINGFIELD, IL, 62704

 

Date Of Service 214/20 Time of Service 1:31 PM

  
 
        

JOHN PENNELL 2/4/2020

A PRIVATE INVESTI \

PRIVATE DECTECTIVE # 115.002074 \
Under penalties of perjury as provided by law pursuant to Section 1-109 of the Cade of Civil Procedure, the undersignew *
certifies that the statement are true and correct, except as to matters therein stated to be on informati¢én and\belief and si

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matters the undersigned certifies as aforesaid that he/she verily believes sam

 
